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                                       EXHIBIT A



   1.    Louis Bosarge, Jr.

   2.    Stephanie Bosarge, individually, and on behalf of her minor children,
         J. Bosarge and E. Bosarge

   3.    Mary Craft, individually, and on behalf of her minor son, K. Craft

   4.    Marvin Craft

   5.    Robert Craft

   6.    Joseph Johnson

   7.    Mary Johnson, individually, and on behalf of her minor son, E. Johnson

   8.    Michael Johnson, Sr.

   9.    Tracy Johnson, individually, and on behalf of her minor children, A.
         Johnson, AM. Johnson, C. Johnson, and M. Johnson




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